CaSe 1-17-46613-nh| DOC 59 Filed 04/20/18 Entered 04/20/18 18226241

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

BRACHA CAB COR.P., et al.

____________________________________________ X
STATE OF NEW YORK )
) ss:

COUNTY OF NEW YORK )

MARIA KEFALAS, being duly sworn, deposes and says:

Chapter 11

Case No.
1-17-46613 (NHL)

AFFIDAVIT OF
SERVICE

Jointly Administered

I am not a party to this action. I am over 18 years of age. I reside within the State of New

York.

That on the 20th day of April 2018, I served a copy of the Response and Objections to
Notice of Motion with respect to the above-captioned matter upon the person listed below
by mailing true copies of same in a securer sealed, post-paid envelope addressed to said
person at the address listed below, BY FIRST CLASS MAIL.

Rosenberg Musso & Weiner LLP
Attn: Bruce Weiner

26 Court Street

Suite 2211

Brooklyn, NY 11242

Bracha Cab Corp.

Attn: Esma Elberg

1281 Carroll Street
Brooklyn, NY 11213-4207

Office of the United States Trustee
Eastem District of NY

U.S. Federal Offlce Building

201 Varick Street, Suite 1006
New York, NY 10014

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Deponent deposited the envelopes with the appropriate postage affixed in an official
depository under the exclusive care and control of the United States Postal Service within

the State of New York.

MALRIA KEFA{LIA§U '

Sworn to before me this
20th day of April,

 

N’ as will k
ot C

SARA M. CLARK
NOTARY PUBL|C-STATE OF NEW YORK
NO. 01CL6133235
Quo|ified in New York County
My Commission Expires Sep1ember 12. __1_;__\7_02l

